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 4
     Attorney for Defendant
 5   TERESA MARIA MORALES
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,           )                 No. CR. S-07-00314 LKK
10                                       )
                 Plaintiff,              )                 STIPULATION AND ORDER
11                                       )                 VACATING TRIAL DATE, SETTING
           v.                            )                 STATUS CONFERENCE, AND
12                                       )                 EXCLUDING TIME
     TERESA MARIA MORALES,               )
13   ENRIQUE MORALES,                    )
     JOSE LUIS MORALES,                  )
14   JUAN MORALES, and PETRA             )
     PRECIADO MORALES,                   )
15                                       )
                 Defendants.             )
16   ____________________________________)
17   The parties hereby stipulate to the following:
18      1.      This matter is set for jury trial to begin on June 26, 2012, and for a trial readiness
19              conference on June 12, 2012.
20      2.      In response to the discovery motion filed by counsel for Teresa Morales, the
21              government has located and agreed to produce for inspection and use by the defense
22              the following discovery materials: 22 banker boxes of relevant documents located at
23              the United States Postal Inspection Service office in Richmond, California; 18 banker
24              boxes of relevant documents at the Employment Development Department office in
25              Sacramento; 2 desktop computers; 57 video tapes; and 6 DVDs from Jalisco Market.
26              The documents produced by the government approximate 20,000 pages of materials.
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 1   3.    Counsel for Teresa Morales is working with the National Litigation Support
 2         Administrator Office of Defender Services in Oakland, California, in order to arrange
 3         for the documents to be scanned, coded, and distributed to all defense counsel.
 4   4.    The new discovery will impact the defense of this case, including the litigation
 5         strategies of defense counsel. All defense counsel will need time to review the
 6         discovery and to conduct any additional investigation based upon the newly
 7         discovered materials. In light of this, all defense counsel and counsel for the
 8         government stipulate that the trial date be vacated. It is further stipulated that in lieu
 9         of the June 12, 2012 trial readiness conference, that a status conference be set on that
10         date. The foregoing schedule will permit counsel to obtain the new discovery and to
11         intelligently address the issue of setting a new trial date.
12   5.    It is stipulated by the parties that time continue to be excluded to June 12, 2012 for
13         preparation of counsel pursuant to local code T4. 18 U.S.C. § 3161(h)(7)(B)(iv). It is
14         further stipulated that the ends of justice served by granting this continuance
15         outweigh the interests of the public and the defendants in a speedy trial. 18 U.S.C. §
16         3161(h)(7)(A).
17
     DATED: March 9, 2012              /s/ Timothy E. Warriner
18                                     Attorney for defendant, TERESA MARIA MORALES
19
     DATED: March 9, 2012              /s/ Bruce Locke
20                                     Attorney for defendant, ENRIQUE MORALES
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     DATED: March 9, 2012              /s/ Dina L. Santos
22                                     Attorney for defendant, JOSE LUIS MORALES
23
     DATED: March 9, 2012              /s/ Kelly Babineau
24                                     Attorney for defendant, JUAN MORALES
25
     DATED: March 9, 2012              /s/ Donald P. Dorfman
26                                     Attorney for defendant, PETRA PRECIADO MORALES
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28                                                2
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 1    DATED: March 9, 2012                /s/ Kyle Reardon
                                          Assistant U.S. Attorney
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 3
 4                                            ORDER
 5       GOOD CAUSE APPEARING, it is hereby ordered that the jury trial set for June 26,
 6    2012 and trial readiness conference set for June 12, 2012 be vacated, and that this matter be
 7    set for a status conference on June 12, 2012 at 9:15 a.m. It is further ordered that time
 8    continue to be excluded to June 12, 2012 for preparation of counsel pursuant to Local Code
 9    T4 and 18 U.S.C. § 3161(h)(7)(B)(iv). The court finds that the ends of justice served by
10    granting this continuance outweigh the interests of the public and the defendants in a speedy
11    trial. 18 U.S.C. § 3161(h)(7)(A).
12.
13    DATED: March 14, 2012
                                                 ___________________________________
14                                               LAWRENCE K. KARLTON
                                                 SENIOR JUDGE
15                                               UNITED STATES DISTRICT JUDGE
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